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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

                                       CASE NO. 14-24887-MC-LOUIS
  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
                                /

                                                        ORDER

          This cause comes before the Court on Subpoena Respondents’ 1 Motion for Entry of an

  Order Requiring Hornbeam Corporation to Provide Subpoena Respondents Certifications of

  Confidential Information (ECF No. 305). 2 The Court held a hearing on this Motion on May 6,

  2019, at which the Parties agreed that the Stipulated Protective Order (ECF No. 224; amended at

  ECF Nos. 286, 318) be amended to require presentation to the Court executed Certifications and

  provide a method for those submissions. Accordingly, the Court hereby AMENDS the Stipulated

  Protective Order as follows:

  1. Section 6 shall be amended to add the following:

          f. Certifications shall be filed under seal contemporaneously with execution, and
          the non-disclosing Party may make an application to have the Certifications
          produced upon a showing of good cause.




  1
    Mordechai Korf, Felman Trading Inc., Felman Production LLC, Optima International of Miami, Inc., Optima Fixed
  Income LLC, Optima Industrial Management, LLC, Georgia American Alloys Inc., Optima Specialty Steel, Inc. (now
  known as Specialty Steel Works, Inc.), Optima Ventures LLC, Optima Acquisitions LLC, Optima Group, LLC,
  Optima Highland LLC, 5251 36st LLC, CC Metals & Alloys LLC, and Felman Production Inc.
  2
    The Motion was filed as a Consolidated Motion consisting of two separate motions: (1) the present Motion, filed by
  the Subpoena Respondents; and (2) a Motion for an Order Setting a Final Discovery Cutoff Date of December 18,
  2018, filed by Intervenors Panikos Symeou and Halliwel Assets, Inc. On December 27, 2018, Intervenors filed a
  Notice of Withdrawal of their specific Motion from the Consolidated Motion (ECF No. 313). Thus, the only dispute
  remaining in ECF No. 305 is the Subpoena Respondents’ Motion.
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  2. All other sections of the Stipulated Protective Order shall remain unchanged as entered. See

     ECF Nos. 224, 286, 318).

         DONE AND ORDERED in Chambers at Miami, Florida, this 13th day of May, 2019.




                                             The Honorable Lauren F. Louis
                                             United States Magistrate Judge




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